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      Fill in this information to identify the case:

      Debtor 1      Herman G Lucas

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court of Maryland

      Case number 24-11842

 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

    Name of creditor: PNC Bank, National Association                        Court claim no. (if known): 4

  Last four digits of any number you use to
  identify the debtor’s account: 2258

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
            No
           Yes. Date of the last notice:       /   _/

  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                  Dates incurred                                Amount

    1. Late charges                                                                                                  (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                               (2)   $ 0.00
                                                                      04/15/2024: Plan Review @ $400.00;
    3. Attorney’s fees                                            04/29/2024: Preparation/Filing of Objection to     (3)   $ 950.00
                                                                                Plan @ $550.00
    4. Filing fees and court costs                                                                                   (4)   $ 0.00
                                                                   05/13/2024: Proof of Claim 410A Fee @
                                                                                  $250.00;
    5. Bankruptcy/Proof of claim fees                                                                                (5)   $ 800.00
                                                                05/13/2024: Preparation/Filing of Proof of Claim
                                                                                 @ $550.00
    6. Appraisal/Broker’s price opinion fees                                                                         (6)   $ 0.00
    7. Property inspection fees                                                                                      (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                     (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                               (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                      (10)   $ 0.00
  11. Other. Specify:                                                                                               (11)   $ 0.00
  12. Other. Specify:                                                                                               (12)   $ 0.00
  13. Other. Specify:                                                                                               (13)   $ 0.00
  14. Other. Specify:                                                                                               (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.




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    Debtor1    Herman G Lucas                                              Case number (if known) 24-11842
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Andrew Spivack                                                            Date 06/25/2024
         Signature


    Print: Andrew Spivack (21497)
           First Name           Middle Name          Last Name                     Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                     Email M D B K R @ b r o c k a n d s c o t t . c o m




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                                    CERTIFICATE OF SERVICE

I hereby certify that on the 25th day of June, 2024, I reviewed the Court’s CM/ECF system and it
reports that an electronic copy of the Notice Of Postpetition Mortgage Fees, Expenses, And Charges
will be served electronically by the Court’s CM/ECF system on the following:

Rebecca A. Herr, Chapter 13 Trustee

Francis H. Koh, Debtor’s Attorney

I hereby further certify that on the 25th day of June, 2024, a copy of the Notice Of Postpetition
Mortgage Fees, Expenses, And Charges was also mailed first class mail, postage prepaid to:

Herman G Lucas
2005 Peabody Street
Hyattsville, MD 20782



                                              /s/Andrew Spivack
                                              Andrew Spivack, MD Fed. Dist. No. 21497
                                              Ryan Srnik, MD Fed. Dist. No. 30811
                                              M. Christine Maggard, MD Fed. Dist. No. 31067
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              3825 Forrestgate Drive
                                              Winston Salem, NC 27103
                                              Telephone: (844) 856-6646
                                              Facsimile: (704) 369-0760
                                              E-Mail: MDBKR@brockandscott.com
